This is not the Silk Road,
                       Casebut you are close...
                               1:14-cr-00068-LGS         Document 154-1   Filed 01/19/15      Page 1 of 1             1 of 1



                 Silk Road
                 anonymous marketplace


         This is not the Silk Road, but you are close...

         The Silk Road is an anonymous online market. Current offerings include Marijuana, Hash, Shrooms, LSD,
         Ecstacy, DMT, Mescaline, and more. The site uses the Tor anonymity network, which anonymizes all traffic
         to and from the site, so no one can find out who you are or who runs Silk Road. For money, we use Bitcoin,
         an anonymous digital currency.



         Accessing the site is easy:

           1. Download and install the Tor browser bundle (Click here for instructions and non-windows users)
           2. Open your new Tor browser
           3. Go to: http://ianxz6zefk72ulzz.onion


         Once inside, you will find a homepage that looks something like this:




         * it takes about a minute for you to make the initial anonymous connection to the site, but afterward you
         should be able to browse more quickly.



         So what are you waiting for? Get Tor and get to Silk Road! We'll see you inside :)

         -Silk Road staff




http://web.archive.org/web/20110304201806/http://silkroadmarket.org/
